






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00493-CV






Terry James Cunningham, Appellant


v.


Ariane Ansorena-Cunningham, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-FM-07-004785, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N


		Appellant Terry James Cunningham brought a suit affecting the parent-child
relationship (SAPCR) seeking to be named joint managing conservator of T.D.C. and A.A.C.  The
trial court dismissed the SAPCR on the basis that Cunningham, a non-parent, lacked standing.  We
will affirm the trial court's order of dismissal.


BACKGROUND

		Cunningham and Ariane Ansorena-Cunningham were divorced on
December&nbsp;15,&nbsp;1999.  At that time, no children had been born of the marriage and Ansorena-Cunningham was not pregnant.  On December 29, 1999, Ansorena-Cunningham was artificially
inseminated with sperm from an anonymous donor and became pregnant with twins.  The children,
T.D.C. and A.A.C., were born on August 28, 2000.  According to Cunningham, he and his ex-wife
continued to live together after their divorce and he assumed the role of the children's father until
the couple separated "on or about December 15, 2006."

		Nine months after the separation, on September 18, 2007, Cunningham filed his
Original Petition for Divorce alleging that he and Ansorena-Cunningham had been in a common-law
marriage since December 1999; in the petition, he sought to be named joint managing conservator
of T.D.C. and A.A.C.  Ansorena-Cunningham filed a motion to dismiss Cunningham's SAPCR for
lack of standing.  By his second amended divorce petition, Cunningham asserted that he had standing
to bring the SAPCR because he is "a person, other than a foster parent, who has had actual care,
control, and possession of the child for at least six months ending not more than 90 days preceding
the date of the filing of the petition."  See Tex. Fam. Code Ann. §&nbsp;102.003(a)(9) (West 2008). 
Alternatively, he pleaded that he had standing under the common law doctrine of in loco parentis. 
After a hearing, the trial court entered an order of dismissal and severed the SAPCR from the divorce
action, making it a final, appealable order.

		On appeal, Cunningham argues by two issues that the trial court erred in determining
that he lacked standing under section 102.003 of the family code and misapplied the doctrine of
in&nbsp;loco parentis.


STANDARD OF REVIEW

		Standing is a component of subject-matter jurisdiction and is a constitutional
prerequisite to maintaining a lawsuit under Texas law.  Texas Ass'n of Bus. v. Texas Air Control Bd.,
852 S.W.2d 440, 443-44 (Tex. 1993).  Whether a court has subject-matter jurisdiction is a question
of law subject to de novo review.  Texas Natural Res. Conservation Comm'n v. IT-Davy,
74&nbsp;S.W.3d&nbsp;849, 855 (Tex. 2002).  In an original suit affecting the parent-child relationship in which
the&nbsp;petitioner seeks managing conservatorship, the question of standing is a threshold issue. 
In&nbsp;re&nbsp;M.P.B., 257 S.W.3d 804, 808 (Tex. App.--Dallas 2008, no pet.).  A petitioner seeking
managing conservatorship has the burden to prove standing.  See In re Smith, 262 S.W.3d 463, 465
(Tex.&nbsp;App.--Beaumont 2008, orig. proceeding).  The Texas Legislature has provided a
comprehensive statutory framework for conferring standing in the context of suits involving the
parent-child relationship.  See Tex. Fam. Code Ann. §§&nbsp;102.003, .0035, .004, .0045, .006 (West
2008).  In reviewing a trial court's order on a motion to dismiss for lack of standing, we consider the
issue as&nbsp;we would in a plea to the jurisdiction, construing the pleadings in favor of the plaintiff. 
See&nbsp;Brown&nbsp;v.&nbsp;Todd, 53 S.W.3d 297, 305 n.3 (Tex. 2001).


DISCUSSION

		In his first issue, Cunningham argues that he had standing to bring the SAPCR under
section 102.003 of the family code, which provides in relevant part that a person may bring suit if
he has had "actual care, control, and possession of the child for at least six months ending not more
than 90 days preceding the date of the filing of the petition."  Tex. Fam. Code Ann. §&nbsp;102.003(a)(9);
In re Derzapf, 219 S.W.3d 327, 332 n.9 (Tex. 2007).  The purpose of section 102.003(a)(9) is to
create standing for those who have developed and maintained a relationship with a child over time. 
T.W.E. v. K.M.E., 828 S.W.2d 806, 808 (Tex. App.--San Antonio 1992, no writ) (examining
former&nbsp;family code section 11.03(a)(8)); see Coons-Andersen v. Andersen, 104 S.W.3d 630, 636
(Tex.&nbsp;App.--Dallas 2003, no pet.).

		In his second amended petition, Cunningham pleaded that he and Ansorena-Cunningham "ceased to live together as husband and wife on or about December 15, 2006."  Even
assuming that Cunningham actually exercised care, custody, or possession over the children while
he purportedly lived with Ansorena-Cunningham from December 1999 until December 15, 2006,
he did not allege--and the record contains no evidence--that the children were in his care, custody,
or possession after that time. (1)  Therefore, Cunningham failed to meet his burden of showing that he
had actual care, custody, or possession of the children during a six-month period ending not more
than 90 days before he filed suit.  See Smith, 262 S.W.3d at 465.  On the contrary, his pleadings
establish that he last resided with the children more than nine months before he filed suit in
September 2007, and he produced no evidence that he had care, custody, or possession of
the&nbsp;children once he no longer lived with Ansorena-Cunningham.  We overrule Cunningham's
first&nbsp;issue.

		By his second issue, Cunningham argues that the trial court erred in determining that
he lacked standing under the doctrine of in loco parentis.  The phrase means "in the place of a
parent" and "refers to a relationship a person assumes toward a child not his or her own." 
Coons-Andersen, 104 S.W.3d at 634-35.  Under common law, a person in loco parentis to a child
had the same rights, duties, and liabilities as the child's parents.  See McDonald v. Texas Employers'
Ins. Ass'n, 267 S.W. 1074, 1076 (Tex. Civ. App.--Dallas 1924, writ ref'd).  These rights may
include, in appropriate circumstances, having standing as a party in a lawsuit involving custody of
the child.  Trotter v. Pollan, 311 S.W.2d 723, 729 (Tex. Civ. App.--Dallas 1958, writ ref'd n.r.e.)
(op. on reh'g) (persons in loco parentis have "existing justiciable interest" in controversy involving
custody of child).  As noted by the court in Coons-Andersen, however, "Texas courts have never
applied the common law doctrine of in loco parentis to grant custodial or visitation rights to a
non-parent, against the parent's wishes, when the parent maintains actual custody of the child." 
104&nbsp;S.W.3d at 635.  "The defining characteristic of the relationship is actual care and control of a
child by a non-parent who assumes parental duties."  Id.  The relationship generally occurs only
when a parent is unwilling or unable to care for the child.  Id.; see also In re K.K.C.,
No.&nbsp;09-09-00131-CV, 2009 Tex. App. LEXIS 5431, at *15 (Tex. App.--Beaumont July 16, 2009,
orig.&nbsp;proceeding).

		Cunningham, having failed to prove that he had actual care and control of the
children&nbsp;for purposes of establishing standing under section 102.003 of the family code, fails for
the&nbsp;same&nbsp;reason to show that the in loco parentis doctrine applies here.  See Coons-Andersen,
104&nbsp;S.W.3d&nbsp;at&nbsp;636 (noting that family code section 102.003(a)(9) "is in complete harmony" with and
"actually embraces" doctrine of in loco parentis).  Because Cunningham no longer resided with the
children and there is no evidence that the children were in his care at the time he filed suit, he did
not stand in loco parentis to T.D.C. and A.A.C. for purposes of bringing the SAPCR. 
See&nbsp;id.&nbsp;at&nbsp;635-36 ("The common law relationship is temporary and ends when the child is no longer
under the care of the person in loco parentis. . . . [W]e reject the notion that [appellee's] possible
status as a person in loco parentis continued past the time the child moved out of her house."). (2)  We
overrule Cunningham's second issue.


CONCLUSION

		We hold that Cunningham did not prove standing under section 102.003(a)(9) of the
family code or the common-law doctrine of in loco parentis.  We therefore affirm the trial court's
order of dismissal.


						                                                                                   

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Puryear and Henson

Affirmed

Filed:   August 26, 2009
1.   In his brief, Cunningham states that he saw the children in August 2007, when he spent
"several days" with them celebrating their birthday, citing testimony allegedly presented at a hearing
on February 25, 2008.  The transcript of this hearing does not appear in the appellate record and
cannot be considered on appeal.  See Quorum Int'l v. Tarrant Appraisal Dist., 114 S.W.3d 568, 572
(Tex. App.--Fort Worth 2003, pet. denied) (appellate court cannot look outside trial court's record
in effort to discover relevant facts).  Even if we could consider such testimony, however, it does not
establish that he had actual care, custody, or possession of the children for a period of six months,
as required by statute.  See Tex. Fam. Code Ann. §&nbsp;102.003(a)(9) (West 2008).  Cunningham cites
no other evidence regarding his purported possession of the children during the 90 days immediately
prior to his filing suit.
2.   In his brief, Cunningham cites cases discussing the doctrine of in loco parentis in various
other contexts.  See Rey v. State, 238 S.W.3d 840 (Tex. App.--Amarillo 2007) (grafting in loco
parentis requirement onto penal statute describing offense of child abandonment), rev'd,
280&nbsp;S.W.3d&nbsp;265 (Tex. Crim. App. 2009); McGee v. McGee, 936 S.W.2d 360 (Tex. App.--Waco
1996, writ denied) (extending parental immunity to parent standing in loco parentis); Nelson
v.&nbsp;Nelson, 334 S.W.2d 482 (Tex. Civ. App.--Waco 1959, no writ) (noting, without further comment,
trial court's finding that father stood in loco parentis to stepson in discussion of former dependent
and neglected child statute).  These cases do not stand for the proposition that someone who was at
one time in loco parentis, but is no longer, may maintain a custody lawsuit against a child's parent.


